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                        IN THE UNITED STASTES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )                Case No.: 21-10043-EFM
                                    )
PAUL GORDON,                        )
                                    )
                  Defendant.        )
____________________________________)


                                TRIAL SCHEDULING ORDER

       The above case is scheduled for jury trial to begin on Monday, May 9, 2022 at 1:30 p.m.

in Courtroom 408. The parties are directed to make the following filing deadlines for the trial, on

or before 2:00 p.m. on the dates specified.

   1. proposed voir dire questions on or before May 3, 2022;

   2. witness & exhibit lists on or before April 29, 2022;

   3. motions in limine on or before April 29, 2022;

   4. responses to motions in limine on or before May 2, 2022;

   5. objections to witness & exhibit lists on or before May 2, 2022;

   6. proposed jury instruction and verdict form on or before May 3, 2022, with a copy in WORD

       or WordPerfect format emailed to the undersigned chambers email account. Parties should

       not submit stock instructions;

   7. the Court will instruct on the law at the beginning of the trial; an instructions conference

       will be held at the same time as the limine conference; limine and jury instructions

       conference will be held on May 4, 2022 at 10:00 a.m. in Courtroom 408; and
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8. Parties are directed to follow JERS Instructions as outlined on the undersigned Judge’s

   web page and provide the flash drive, or CD to the Court no later than May 2, 2022.


   IT IS SO ORDERED.


   Dated this 4th day of April, 2022.



                                               ERIC F. MELGREN
                                               UNITED STATES DISTRICT JUDGE
